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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

Chapter 11
In re:
Case No. 09-10138 (KG)
Nortel Networks Inc. et al.,'
(Jointly Administered)

Debtors. Objection Deadline; November 18, 2010 at 4:00 p.m.

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NOTICE OF TWENTIETH MONTHLY FEE
APPLICATION OF ASHURST LLP

PLEASE TAKE NOTICE that the Official Committee of Unsecured
Creditors (the “Committee”) has today filed the attached Twentieth Monthly
Application of Ashurst LLP, European Counsel for the Official Committee of
Unsecured Creditors, for Interim Allowance of Compensation and_ for
Reimbursement of Expenses for Services Rendered During the Period from
September 1, 2010 through September 30, 2010 (the “Application”) with the United
States Bankruptcy Court for the District of Delaware, 824 Market Street, 3rd Floor,
Wilmington, Delaware 19801 (the “Bankruptcy Court”),

PLEASE TAKE FURTHER NOTICE that objections, if any, to the
Application must be made in accordance with the Administrative Order Pursuant to 11
U.S.C. §§ 105(a) and 331, Fed. R. Bankr. P. 2016 and Del. Bankr, L.R, 2016-2

Establishing Procedures for Interim Compensation and Reimbursement of Fees and

' The Debtors in these chapter 1] cases, along with the last four digits of each Debtors’ tax
identification number, are: Nortel Networks inc. (6332); Nortel Networks Capital Corporation (9620);
Nortel Altsystems Inc. (9769}; Nortel Altsystems International Inc. (5596); Xros, Inc. (4181); Sonoma
Systems (2073); Qtera Corporation (0251); Coretek, Inc, (5722), Nortel Networks Applications
Management Solutions, Inc. (2846); Nortel Networks Optical Components, Inc. (3545); Nortel Networks
HPOCS Inc. (3546); Architel Systems (U.S.} Corporation (3826); Nortel Networks International Inc.
(0358); Northern Telecom International Inc. (6286); and Nortel Networks Cable Solutions Inc. (0567).

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Expenses for Professionals and Official Committee Members (the “Administrative
Order”) entered February 4, 2009 [Docket No. 222], and must be filed with the Clerk of
the Bankruptcy Court, and be served upon and received by: (i) the above captioned
debtors and debtors in possession (the “Debtors”), Nortel Networks Inc., 220 Athens
Way, Suite 300, Nashville, Tennessee 37228-1304 (Attn: Allen K. Stout); (ii) counsel to
the Debtors, Cleary Gottlieb Steen & Hamilton LLP, One Liberty Plaza, New York, New
York 10006 (Attn: James L. Bromley, Esq.); (iii) counsel to the Debtors, Morris,
Nichols, Arsht & Tunnell LLP, 1201 North Market Street, P.O. Box 1347, Wilmington,
Delaware 19899-1347 (Attn: Derek C. Abbott, Esq.); (iv) counsel to the Committee,
Akin Gump Strauss Hauer & Feld LLP, One Bryant Park, New York, New York 10036,
(Attn: Fred S. Hodara, Esq.), (v) counsel to the Committee, Richards, Layton & Finger,
P.A., 920 North King Street, Wilmington, Delaware 19801 (Attn: Christopher M. Samis,
Esq.) (vi) the Office of the United States Trustee, District of Delaware, 844 King Street,
Suite 2207, Lockbox 35, Wilmington, Delaware 19801 (Attn: Kevin Callahan, Esq.)
(collectively, the “Notice Parties”) so as to be received no later than November 18, 2010
at 4:00 p.m. (the “Objection Deadline”). Only those objections that are timely filed,
served and received will be considered by the Court.

PLEASE TAKE FURTHER NOTICE that if no objections are received by
the Notice Parties prior to the Objection Deadline, in accordance with the Administrative
Order the Applicant may be paid certain fees and expenses pursuant to the terms of the
Administrative Order without further notice or hearing. If an objection is properly filed
and served and such objection is not otherwise resolved, or the Court determines that a
hearing should be held in respect of the Application, a hearing will be held at a time

convenient to the Court. Only those objections made in writing and timely filed, served

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and received in accordance with the Administrative Order will be considered by the

Court at the hearing.

Dated: October 29, 2010
Wilmington, Delaware

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